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U.S. Department of Justice
Federal Bureau of Prisons
Federal Correctional Institution /|
P.O. Box 1500

Butner, North Carolina 27509

 

 

DATE: March 14, 2023

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REPLY TO C* i x

ATTN OF: L. B. Kelly, War
FCI Butner [L, North Carolina

  

TO: AMUSO, Vittorio
Register No.: 38740-079

SUBJECT: Reduction in Sentence

This memorandum is in response to your Request to Staff dated January 4, 2023, in which you
requested to be considered for a reduction in sentence under medical conditions criteria and
concerns about COVID-19.

At this time, you do not mect the guidelines outlined in Program Statement 5050.50,
Compassionate Release/Reduction in Sentence: Procedures for Implementation of 18 U.S.C. 3582
(c)(1)(A) and 4205(g), Section 3a., Terminal Medical Condition, Section 3b., Debilitated Medical
Condition and Section 4b., Elderly with Medical Conditions. You do not have a terminal illness,
with a life expectancy of less than 18 months and you are independent with your self-care. You do
not have debilitated medical condition and you are independent of your activities of daily living
and your current medical conditions remain under control. Also, you do not meet the time served
under elderly with medical conditions criteria. Accordingly, your RIS request is denied at this
time.

At present, you are receiving appropriate medical care and treatment by Health Services staff. We
are committed to providing you with the necessary and appropriate care for your medical needs.

The BOP is taking extraordinary measures to contain the spread of COVID-19 and treat any
affected inmates. We recognize that you, like all of us, have legitimate concerns and fears about
the spread and effects of the virus. However, your concern about being potentially exposed to, or
possibly contracting, COVID-19 does not currently warrant an early release from your sentence.
Accordingly. your RIS request is denied at this time.
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If you are not satisfied with this response to your request, you may commence an appeal of this
decision via the administrative remedy process by submitting your concerns on the appropriate
form (BP-9) within 20 days of the receipt of this response.
